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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
     In re:                                          :     Chapter 9
                                                     :
     CITY OF CHESTER, PENNSYLVANIA,                  :     Case No. 22-13032
                                                     :
                             Debtor.                 :     Judge Ashely M. Chan
                                                     :



        CITY OF CHESTER’S SUPPLEMENTAL RESPONSE TO THE MOTION BY
      CHESTER WATER AUTHORITY PURSUANT TO RULE 2004 FOR DISCLOSURE
          OF COMPENSATION OF LEGAL PROFESSIONALS REPRESENTING
                       DEBTOR’S ELECTED OFFICIALS

              The City of Chester (the “Debtor” or the “City”), as the debtor in the above-captioned

 chapter 9 case, hereby submits this Supplemental Response (the “Supplemental Response”) to the

 Motion by Chester Water Authority Pursuant to Rule 2004 for Disclosure of Compensation of

 Legal Professionals Representing Debtor’s Elected Officials [Docket No. 216] (the “2004

 Motion”).1 In support of this Response, the City respectfully states as follows:

                                               RESPONSE

              1.     On February 8, 2023, the Chester Water Authority (the “CWA”) filed the 2004

 Motion, seeking, inter alia, disclosure by the Debtor of the “nature and extent of compensation

 paid or owed to the Elected Officials’ counsel as well as whether another entity, such as

 Aqua/Essential, is actually paying, or has offered to make payment at a future time, for

 representation.” 2004 Motion, at ¶ 11.




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   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them
 in the 2004 Motion.
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        2.       On February 22, 2023, the Debtor filed the City of Chester’s Response to the Motion

 by Chester Water Authority Pursuant to Rule 2004 for Disclosure of Compensation of Legal

 Professionals Representing Debtor’s Elected Officials [Docket No. 242] (the “Response”).

        3.       On March 14, 2023, the Elected Officials filed the affidavit of Mayor Thaddeus

 Kirkland [Docket No. 265] (the “Kirkland Affidavit”) stating, inter alia, that the “City” retained

 Buchanan Ingersoll and Rooney, PC (“Buchanan”) to represent “the City” in the ongoing

 proceeding in the Commonwealth Court of Pennsylvania and to represent “the Mayor and City

 Council, as a body, in this bankruptcy case,” with certain payments having been made to Buchanan

 in connection with such representation on or about February 10, 2023.

        4.       Michael Doweary (the “Receiver”), in his capacity as receiver for the Debtor, has

 not authorized the retention of Buchanan by the City or the Elected Officials in connection with

 this bankruptcy case and, to his knowledge, none of the payments made to Buchanan were on

 account of Buchanan’s work in representing the Elected Officials in this bankruptcy case. The

 Receiver’s understanding is that the payments to Buchanan identified in the Kirkland Affidavit

 were entirely on account of fees and expenses incurred by the Elected Officials in connection with

 matters before the Commonwealth Court.

 June 23, 2023                                 Respectfully submitted,

                                               /s/ Tobey M. Daluz
                                               Tobey M. Daluz (PA Bar No. 60685)
                                               Margaret A. Vesper (PA Bar No. 329793)
                                               Ballard Spahr LLP
                                               1735 Market Street, 51st Floor
                                               Philadelphia, PA 19103
                                               Tel: (215) 864-8148
                                               Email: daluzt@ballardspahr.com
                                                       vesperm@ballardspahr.com

                                               and




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                                      Matthew G. Summers*
                                      Laurel D. Roglen*
                                      Ballard Spahr LLP
                                      919 N. Market Street, 11th Floor
                                      Wilmington, DE 19801
                                      Tel: (302) 252-4465
                                      Email: summersm@ballardspahr.com
                                              roglenl@ballardspahr.com

                                      (*Admitted pro hac vice)

                                      Attorneys for the City of Chester




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